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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MPR:RCH                                            271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   October 2, 2020

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Genaro Garcia Luna
                     Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

               The parties respectfully submit this status update to the Court in the above-
captioned matter in advance of the conference scheduled to proceed by video on October 7,
2020 at 9:00 a.m. At the status conference, the parties request that the Court arraign the
defendant on the superseding indictment returned on July 30, 2020. The parties respectfully
request that the Court schedule the next status conference in approximately 60 days. The
parties agree that an order of excludable delay is appropriate under the Speedy Trial Act until
the next status conference based on the Court’s previous complex case designation.

    Discovery

          o The government continues the process of collecting and reviewing discovery for
            production to the defendant on a rolling basis. Following the parties’ last status
            letter on July 24, 2020, see Dkt. No. 44, the government made two additional
            discovery productions, on August 19, 2020 and September 29, 2020, totaling
            more than 35,000 pages of documents, see Dkt. Nos. 50, 51. Those productions
            included, among other things, intercepted communications, financial records,
            public records, videos, search warrants, files received from Mexican law
            enforcement, Mutual Legal Assistance Treaty (“MLAT”) requests and
            responses and statements of the defendant. See id.

          o The government has been working with defense counsel and the Bureau of
            Prisons to facilitate the defendant’s review of non-protected discovery at the
            Metropolitan Detention Center (“MDC”). The government has sent all of the
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           non-protected discovery in its productions to the defendant at the MDC. The
           parties have addressed the technical issues related to the defendant’s ability to
           review the non-protected discovery at the MDC, which the parties discussed in
           their letter to the Court in July, see Dkt. No. 44. To date, the defendant has been
           able to review that material on computers available at the facility.

        o The defense notes, to date, a substantial portion of the discovery produced has
          been deemed “protected material” pursuant to the terms of the protective order
          in place. These materials include intercepted communications and a large
          portion of the financial records produced thus far. Therefore, the defendant is
          not permitted to retain or review those materials outside the presence of counsel
          and the current video visiting technologies in place at the MDC have not
          functioned to allow counsel to share any material with the defendant over video
          conference despite being assured otherwise. Defense counsel has tried on two
          separate occasions to do so without success. The government, which learned of
          this situation today, will consult with the MDC to determine how best to address
          it. The defense notes that it received the most recent discovery production
          yesterday, constituting at least 12,000 pages of documents, and approximately
          an additional 1,500 intercepted communications.

        o The government also is awaiting responses from outstanding subpoenas,
          including subpoenas to the defendant and his companies. In addition, the
          government has submitted MLAT requests for evidence in the possession of
          several foreign governments. Although the government has received some
          responsive information, it is awaiting additional MLAT responses.

        o To date, the government has produced more than 189,000 pages of documents,
          as well as voluminous intercepted communications. It expects to make an
          additional large production in the coming weeks. It expects that production
          mostly to consist of data from the defendant’s electronic devices recovered at
          the time of his arrest. The government previously produced this data on
          February 22, 2020, but the defense informed the government that the data was
          not in a format that it could access. The government subsequently has worked
          with a third-party vendor to convert the data into a different format, and it
          expects to be able to produce that data in the near future. Following this next
          production, the government will have produced the majority of the discoverable
          material in its possession. The government expects to make smaller productions
          on a rolling basis as it receives additional discoverable material and/or identifies
          such material in its possession. The government also expects to move to delay
          disclosure of certain discoverable information provided by certain potential
          witnesses in this case, until such time as the witness’s 18 U.S.C. § 3500 material
          is disclosed.




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       Trial Preparation

            o The parties continue to face delays in preparing for trial in this case, in light of
              the pandemic, including limitations on the government’s ability to meet with
              incarcerated witnesses and limitations on defense counsel’s ability to meet with
              the defendant.

            o The government expects trial in this case to last two to three months. It
              anticipates that it will file a motion for an anonymous and partially sequestered
              jury in this case.

       CIPA

            o The government recently has been able to resume its review of materials needed
              to complete litigation in this matter pursuant to the Classified Information
              Procedures Act, 18 U.S.C. App. 3, §§ 1-16 (“CIPA”). Assuming no further
              pandemic associated delays, the government expects that the necessary steps to
              complete CIPA litigation will take several more months. The government will
              file its motion for a pretrial conference pursuant to Section 2 of CIPA, once it is
              has a better sense of the anticipated schedule for completing CIPA litigation.

                                                     Respectfully submitted,

                                                     SETH D. DuCHARME
                                                     Acting United States Attorney

                                             By:       /s/
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cc:      Cesar de Castro, Esq.
         Clerk of the Court (BMC) (by ECF)




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